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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 DR. ROBERT W. MALONE                           )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )       Case No. 3:22-CV-00063-NKM
                                                )
                                                )
 PETER R. BREGGIN, MD et al.                    )
                                                )
        Defendants.                             )
                                                )


          PLAINTIFF’S RESPONSE TO SHOW CAUSE
        AND MOTION TO EXTEND TIME FOR SERVICE
        Plaintiff, Dr. Robert W. Malone (“Plaintiff” or “Dr. Malone”), by counsel,

 pursuant to W.D. Va. Civ. Rule 11(c) and Rule 4(m) of the Federal Rules of Civil

 Procedure (the “Rules”), hereby responds to the Court’s Show Cause Order and moves

 the Court to extend the time for service on defendants, Peter R. Breggin, M.D. and

 Ginger Ross Breggin (collectively, the “Breggins”) and Dr. Jane Ruby (“Ruby”).

        1.      On October 30, 2022, Dr. Malone filed his complaint against the Breggins

 and Dr. Ruby. [ECF No. 1]. 1        In his complaint, Dr. Malone asserted claims for

 defamation (Count I), defamation by implication (Count II) and insulting words pursuant

 to 8.01-45 of the Virginia Code (Count III).

        2.      On October 30, 2022, counsel for Dr. Malone emailed counsel for the

 Breggins, providing a copy of the complaint and requesting acceptance of service. On


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             Dr. Malone intends to dismiss his claims against America Out Loud and
 Red Voice Media pursuant to Rule 41(a)(1)(A)(i).

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 November 11, 2022, counsel for Breggins (Cameron Beck, Esquire (“Beck”) of the law

 firm McCandlish Holton) agreed to accept service and requested a Waiver of Service for

 Summons form.

        3.      On October 30, 2022, counsel for Dr. Malone also contacted counsel for

 Ruby, providing a copy of the complaint and requesting acceptance of service. On

 November 11, 2022, counsel for Ruby agreed to accept service and requested a Waiver.

        4.      On February 1, 2023, counsel for Dr. Malone emailed Notice of Lawsuit

 and completed Waivers to counsel for the Breggins and Ruby.

        5.      Attorney Beck advised for the first time that he no longer represented the

 Breggins, and to direct the Waivers directly to the Breggins. On February 2, 2023,

 counsel for Dr. Malone emailed the Waivers directly to the Breggins. Ginger Breggin

 acknowledged receipt of the Waivers, and advised that the Breggins were “consulting

 with an attorney.”

        6.      On February 2, 2023, counsel for Dr. Malone followed-up with counsel

 for Ruby about the status of the Ruby Waiver. Counsel for Ruby advised that he needed

 to “review and sync with my client asap.” Counsel for Dr. Malone and counsel for Ruby

 also spoke by phone. Counsel for Dr. Malone advised that the Court had issued a 90-day

 notice, and that the Waivers needed to be returned promptly. Counsel for Dr. Ruby had a

 trial, but indicated he would get back in touch by the “end of the week”.

        7.      On February 7, 2023, Ginger Breggin advised that the Breggins had “hired

 a new attorney in Virginia and will be able to respond after we meet with him in the next

 few days.”




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        8.     On February 15, 2023, having not received the signed Waivers, counsel

 for Dr. Malone contacted the Breggins and requested the name of their Virginia attorney.

 Counsel for Dr. Malone also contacted counsel for Ruby and requested the signed

 Waiver.

        9.     Neither the Breggins nor any attorney responded.

        10.    Counsel for Ruby stopped communicating and never returned the signed

 Waiver.

        11.    Counsel for Dr. Malone did not pursue means to personally serve the

 Breggins and Ruby. Rather, counsel relied in good faith on the express representations of

 counsel for the Breggins and counsel for Ruby that they would execute and return

 Waivers of Service of Summons forms.

        12.    Pursuant to Rule 4(m), Dr. Malone requests the Court to extend the time to

 serve the Breggins and Ruby by 30 days.

        13.    A proposed Order is attached as Exhibit “A”.



        WHEREFORE, Plaintiff, Dr. Robert W. Malone, requests the Court to extend the

 time for service to and including March 27, 2023.



 DATED:        February 23, 2023



                            Signature of Counsel on Next Page




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                               DR. ROBERT W. MALONE



                               By:     /s/ Steven S. Biss
                                       Steven S. Biss (VSB # 32972)
                                       300 West Main Street, Suite 102
                                       Charlottesville, Virginia 22903
                                       Telephone: (804) 501-8272
                                       Facsimile: (202) 318-4098
                                       Email: stevenbiss@earthlink.net

                                       Counsel for the Plaintiff




                             CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2023 a copy of the foregoing was filed

 electronically using the Court’s CM/ECF system, which will send notice of electronic

 filing to counsel of record and all interested parties receiving notices via CM/ECF.




                               By:     /s/ Steven S. Biss
                                       Steven S. Biss (VSB # 32972)
                                       300 West Main Street, Suite 102
                                       Charlottesville, Virginia 22903
                                       Telephone: (804) 501-8272
                                       Facsimile: (202) 318-4098
                                       Email: stevenbiss@earthlink.net

                                       Counsel for the Plaintiff




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